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IN THE UNITED STATES DISTRICT COURT 2913 957 22 §§ 3: 33

FOR THE NORTHERN DISTRICT OF TEXAS

DALLAS DIVISIGN z::wutv cLERE-t_*,f;.a
UNITED sTATEs oF AMERICA w h
V. No.
LARRYDUNCAN 3’18CR°536“M
MF_ALRESU_ME

In support of Larry Duncan’s plea of guilty to the offense(s) in Count(s) One of
the Information, Duncan, the defendant, Barry Sorrels, the defendant’s attorney, and the
United States of America (the government) stipulate and agree to the following:

ELEMENTS OF THE OFFENSE

To prove the offense alleged in Count One of the Information, charging a violation
of 26 U.S.C. § 7201, that is, Tax Evasion, the government must prove each of the
following elements beyond a reasonable doubt:

First: That there exists a substantial tax deficiency owed by the defendant
to the Internal Revenue Service, as charged;

Second: That the defendant committed at least one affirmative act to evade or
defeat assessment or payment of the income taxes owed. An
affirmative act includes any conduct the likely effect of which would
be to mislead or conceal; and

Third.' That the defendant acted willfully, that is, the law imposed a duty on

the defendant, the defendant knew of that duty, and the defendant
voluntarily and intentionally violated that duty.

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STIPULATED FACTS

1. The defendant agrees that the following facts are true and correct.

2. Starting in or about January 2012, and continuing through at least 2016, in
the Northern District of TeXas and elsewhere, the defendant, Larry Duncan, willfully
attempted to evade and defeat the payment of a substantial income tax due and owing by
him to the United States of America, for the tax year 2016, by substantially
underreporting his income and by committing at least the affirmative acts described in
paragraphs 6 through 8 and 10 through 12 of the Information.

3. The defendant agrees and stipulates that, between 2012 and 2016, he
received $245,00() in campaign contributions from Force Multiplier Solutions’ President,
Robert Leonard.

4. Of the $245,0()0 that Duncan received from Leonard, Duncan spent most of
it-specifically $184,726.03_on items unrelated to his Dallas County School’s (DCS)
campaigns

5. These items included car related expenses, cash withdraws, money for
Duncan and his wife, and other items which benefited Duncan personally.

6. Duncan, despite his use of the “campaign contributions” for personal
benefit, knowingly and willfully failed to report all $184,726.03 on his tax returns during
tax years 2012 through 2016, resulting in a tax loss to the Internal Revenue Service (IRS)
of $39,717.00. Duncan agrees to make restitution to the Intemal Revenue Service in this

amount.

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7. In tax year 2016, Duncan received $112,179.84 from Leonard which
constituted income under the federal tax laws because Duncan used the money for his
personal benefit.

8. Duncan knowingly and willfully filed a false and fraudulent tax return for
tax year 2016 by omitting the $l 12,179.84 in income that he received directly or
indirectly from Leonard during 2016.

9. The defendant agrees that the defendant committed all the essential
elements of the offense(s). This factual resume is not intended to be a complete
accounting of all the facts and events related to the offense charged in this case. The
limited purpose of this statement of facts is to demonstrate that a factual basis exists to

support the defendant’s guilty plea to Count(s) One the Information.

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AGREED To AND sTIPULATED On this Bday Of @OL'O\QM , 201§:5

 

ERIN NEALY COX
UNITED STATES TORNEY

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